






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00279-CR


NO. 03-07-00281-CR






Kristie Lee King, Appellant



v.


The State of Texas, Appellee






NO. 03-07-00280-CR






Kristie Lee Weiss aka Kristie Lee King, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT

NOS. 59216, 60589 &amp; 59972, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


In cause number 59216, appellant Kristie Lee King was placed on deferred
adjudication supervision after she pleaded guilty to possessing less than four grams of
methamphetamine.  See Tex. Health &amp; Safety Code Ann. § 481.115 (West 2003).  She later pleaded
true to the allegations in the State's motion to adjudicate, was adjudged guilty by the court, and
sentenced to ten years' imprisonment.

In cause number 59972, appellant pleaded guilty to possessing less than two hundred
grams of methamphetamine.  See id.  She was adjudged guilty by the court and sentenced to eighteen
years' imprisonment.

In cause number 60589, appellant pleaded guilty to credit card abuse.  See Tex. Penal
Code Ann. § 32.31 (West Supp. 2006).  She was adjudged guilty by the court and sentenced to two
years in state jail.  All three sentences run concurrently.

Appellant's court-appointed attorney filed a brief in each cause concluding that the
appeal is frivolous and without merit.  The briefs meet the requirements of Anders v. California,
386&nbsp;U.S. 738 (1967), by presenting a professional evaluation of the record demonstrating why there
are no arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State,
573 S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137
(Tex.&nbsp;Crim. App. 1969).  Appellant received a copy of counsel's briefs and was advised of her right
to examine the appellate records and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the records and counsel's briefs and agree that the appeals are
frivolous and without merit.  We find nothing in the records that might arguably support the appeals. 

The judgments of conviction are affirmed.


		



				____________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Waldrop and Henson

Affirmed

Filed:   November 15, 2007

Do Not Publish


